Case:17-01597-EEB Doc#:4 Filed:12/19/17                 Entered:12/19/17 13:23:21 Page1 of 1


                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO
                               The Honorable Elizabeth E. Brown


    In re:
                                                     Adversary Proceeding Case No. 17-1597 EEB
    Bojan Cicic,

        Defendant.


                           NOTICE OF FAILURE TO COMPLY WITH
                             LOCAL BANKRUPTCY RULE 5005-4

        On December 18, 2017, Attorney Robert Busch filed this Adversary Proceeding in paper.
Pursuant to Local Bankruptcy Rule 5005-4, enacted on December 1, 2017, all documents filed
by attorneys must be electronically filed via CM/ECF.

        PLEASE TAKE NOTICE that future filings by Attorney Robert Busch must be filed
electronically, failing which may result in the issuance of sanctions pursuant to Local
Bankruptcy Rule 1001-1(g).1

             DATED this 19th day of December, 2017

                                                       BY THE COURT:


                                                       __________________________
                                                       Elizabeth E. Brown, Bankruptcy Judge




1
   Registration information and training for attorneys filing through CM/ECF are available
under “Electronic Services” on the Court’s website at www.cob.uscourts.gov. Proofs of
claim may be filed electronically through the Court’s online proof of claim system at
https://www.cob.uscourts.gov/proof-claim.
